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 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 MCE

10                      Plaintiff,

11            v.                                      STIPULATION AND PROPOSED ORDER
                                                      TO CONTINUE THE STATUS
12   TATYANA SHVETS, et. al.,                         CONFERENCE FROM MAY 27, 2016 TO
                                                      JULY 29, 2016
13                      Defendants.

14

15            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau, attorney for Andrey

18   Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that the status conference date of

19   Friday, May 27, 2016, should be continued to Friday, July 29, 2016.              The continuance is

20   necessary, as counsel are still reviewing discovery, meeting with the respective clients and

21   investigating information as well as researching various possible resolutions.

22            IT IS SO STIPULATED that the period of time from May 27, 2016, up to and including

23   July 29, 2016.

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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
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 1          Accordingly, the time between May 27, 2016 and July 29, 2016 should be excluded from

 2   the Speedy Trial calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv)

 3   and Local Code T-4 for defense preparation. The parties stipulate that the ends of justice served

 4   by granting this continuance outweigh the best interests of the public and the defendant in a

 5   speedy trial. 18 U.S.C. Section 3161(h)(7)(A).

 6
            May 26, 2016                           /s/ Kenny N. Giffard
 7                                                KENNY N. GIFFARD
                                                  Attorney for Alexsandr Lastovskiy
 8

 9          May 26, 2016                           /s/ Joseph A. Welch
                                                  JOSEPH A. WELCH
10                                                Attorney for Tatyana Shvets
11
            May 26, 2016                           /s/ Kelly Babineau
12                                                KELLY BABINEAU
                                                  Attorney for Andrey Lungu
13

14          May 26, 2016                           /s/ Robert M. Wilson
                                                  ROBERT M. WILSON
15                                                Attorney for Aleksandr Maslov
16
            May 26, 2016                           /s/ Heiko Coppola
17                                                HEIKO COPPOLA
                                                  Attorney for the United States
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20           IT IS SO ORDERED.
             The status conference presently set for May 27, 2016 at 9:00 A.M., is hereby continued to
21   July 29, 2016 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from May 27,
22   2016 through July 29, 2016 pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(iv)
     and Local Code T-4 for defense preparation, based on the representations of the parties in their
23   stipulation. The Court finds that the ends of justice served by granting this continuance outweigh
     the best interests of the public and the defendant in a speedy trial.
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            Dated: May 26, 2016
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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
